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                               Exhibit G
Case 1:18-cv-00950-PTG-JFA Document 711-14 Filed 08/03/20 Page 2 of 7 PageID# 31800




                                PX-1437
CERTIFICATE OF REGISTRATION                                            F O R M .S R
              Case 1:18-cv-00950-PTG-JFA Document 711-14 Filed 08/03/20For Page       3 of 7 PageID# 31801
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1                        Williams on Williams - T he Classic Spielberg Scores.
                         The Boston Pops Orchestra; John Williams, conductor

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2                   a    Sony Music Entertainment Inc.


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l □ This is a changed version o f the work, as shown by space 6 on this application.
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CERTIFICATION* I, the undersigned, hereby certify that I am the
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                         Williams on Williams : the classic Spielberg scores.

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                        Title: W illiams on Williams : the classic Spielberg scores.
                     Imprint: c1995.
         Publisher Number: Sony Classical SK 68419
                Description: Compact disc.
                      Notes: Add. ti.: The classic Spielberg scores.
                  Performer: Boston Pops Orchestra conducted by John Williams.
        Copyright Claimant: ® Sony Music Entertainment, Inc. (employer for hire)
           Date of Creation: 1995
        Date of Publication: 1995-11 -10
     Previous Registration: Artwork preexisting.
             Basis of Claim: New Matter: new sound recordings.
                   Contents: Flying - Theme - Remembrances - Flight to Neverland - The Battle for
                             Hollywood - Sm ee’s plan - The barrel chase - My friend, the
                             Brachiosaurus - Jim ’s new life - The dialogue - The Lost oys’ ballet -
                             Theme - The Basket chase - The face of Pan - The banquet.

                Variant title: W illiams on Williams : the classic Spielberg scores
                 Other Title: The classic Spielberg scores
                              The Battle for Hollywood
                              The barrel chase
                              The dialogue
                              The Lost oys’ ballet
                              The Basket chase
                              The face of Pan
                              The banquet
                     Names: Williams. John
                              Boston Pops Orchestra




                                                                                              Plaintiffs 00006776
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